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                     EXHIBIT A

                    Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                       ) Chapter 11
In re:                                                 )
                                                       ) Case No. 23-11069 (CTG)
YELLOW CORPORATION, et al.,1                           ) (Jointly Administered)
                                                       )
              Debtors.                                 ) Re: Docket No. ______
                                                       )

                  ORDER GRANTING MOTION OF GARY W. GIBBY FOR
                       RELIEF FROM THE AUTOMATIC STAY

         Upon consideration of the Motion of Gary W. Gibby (“Movant”) for entry of an order

pursuant to section 362(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rule

4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-1 of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”); and this Court having authority to enter a final order

consistent with Article III of the United States Constitution; and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that no other or further notice

need be provided; and after due deliberation and for the reasons set forth in the Motion, the Court

finds that “cause” exists to lift the automatic stay under section 362 of the Bankruptcy Code; and

after due deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

         1.      The Motion is hereby GRANTED as set forth herein.

         2.      Pursuant to section 362(d) of the Bankruptcy Code, the automatic stay of section

362(a) of the Bankruptcy Code is hereby lifted to allow Movant to (a) file and prosecute the a

lawsuit (and enforce any judgment obtained on account of the same) against the debtor YRC, Inc.;


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation.The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.


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and (b) recover any final judgment or settlement against the Debtors solely from proceeds of the

Insurance Policy, if any, and not from the Debtors, their estates, or their successors, and subject to

any applicable limit, self-insured retention, or deductible in the Policy.

       3.      Nothing herein shall prevent or otherwise limit Movant from recovering from any

non-Debtor entities or individuals in connection with her claims.

       4.      The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.



                                               ______________________________________
                                               THE HONORABLE CRAIG T. GOLDBLATT
                                               United States Bankruptcy Judge




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